          Case MDL No. 3100 Document 434 Filed 03/01/24 Page 1 of 4




UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
           NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


MDL No. _______
         3100   & TITLE - IN RE: REAL ESTATE COMMISSION ANTITRUST LITIGATION

1.    Oral Argument – Check ONE of the following boxes:

              ✔     The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                    hearing session on behalf of the designated party or parties. (Note: All attorneys
                    presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                    that:

                            Absent Panel approval and for good cause shown, only those parties to
                            actions who have filed a motion or written response to a motion or order
                            shall be permitted to present oral argument.

                    Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                    oral argument for the purpose of selecting a spokesperson to avoid duplication
                    during oral argument.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                    Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                    hearing session, through counsel or otherwise.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                    OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                    the attorney designated below shall present oral argument at the Panel hearing
                    session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                    In the event of a global waiver, the parties and their counsel need not attend the
                    hearing session.)

2.    Position on Centralization – Check ONE of the following boxes:

                    Support Centralization

             ✔      Oppose Centralization

                    Other ____________________________________________________________

3.    Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
      centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
      if the Panel orders centralization over your objections, indicate your proposed transferee
      district(s) here:

      ________________________________________________________________________
          Case MDL No. 3100 Document 434 Filed 03/01/24 Page 2 of 4




4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
      See Attachment "A"




6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
      See Attachment "A"




7.    Name and Address of Attorney Designated to Present Oral Argument:

      Jill M. Manning
      ____________________________________________________
      Name

      PEARSON WARSHAW, LLP
      ____________________________________________________
      Law Firm

      San Francisco
      __________________________________________           _____
                                                            CA
      City                                                 State


      Telephone No.: _____________________________
                      (415) 433-9000

      Email Address: _______________________________________________________
                     jmanning@pwfirm.com




_______________
March 1, 2024        __________________________
                     JILL M. MANNING                       /s/ Jill M. Manning
                                                           ______________________________
       Date                  Printed Name                            Authorized Signature




                                                                             JPML Form 9 (12/15)
         Case MDL No. 3100 Document 434 Filed 03/01/24 Page 3 of 4




       NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT
                                     Attachment “A”


5.   Plaintiff Christina Grace
     Plaintiff Willsim Latham, LLC


6.   Grace v. Bay Area Real Estate Information Services, Inc. et al., No. 4:23-cv-06352-HSG
     (N.D. Cal.)
     Willsim Latham, LLC v. Metrolist, et al., No. 2:24-cv-00244-KJM-DB (E.D. Cal.)
                Case MDL No. 3100 Document 434 Filed 03/01/24 Page 4 of 4




                                UNITED STATES JUDICIAL PANEL

                                 ON MULTIDISTRICT LITIGATION

In re: Real Estate Commission Antitrust Litigation                              MDL No. 3100

                                         PROOF OF SERVICE

            I hereby certify that on March 1, 2024, I electronically filed the foregoing Notice of

Presentation or Waiver of Oral Argument with the Clerk of the Court using the CM/ECF

system which will send notification of such filing to all counsel of record who are registered

CM/ECF users.




                                                     /s/ Jill M. Manning
                                                     Jill M. Manning




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